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Office of the Secretary of State Jesse White

ilsos.gov

Corporation/LLC Search/Certificate of Good Standing

LLC File Detail Report

File Number 01728113
Entity Name VELOCITY INVESTMENTS, L.L.C.

Status ACTIVE

Entity Information

Principal Office
1800 RTE 34 N BLDG 3 STE 305
WALL, NJ 07719

Entity Type
LLC

Type of LLC
Foreign

Organization/Admission Date
Monday, 9 January 2006

Jurisdiction
NJ

Duration
PERPETUAL

EXHIBIT

A

tabbles*

Agent Information

Case: 1:22-cv-01166 Document #: 1-1 Filed: 03/04/22 Page 2 of 2 PagelD #:9

Name
ILLINOIS CORPORATION SERVICE COMPANY

Address
801 ADLAI STEVENSON DRIVE
SPRINGFIELD , IL 62703

Change Date
Monday, 9 January 2006

Annual Report

For Year
2022

Filing Date
Tuesday, 2 November 2021

Managers

Name

Address

VELOCITY PORTFOLIO GROUP, INC. (EXISTENCE)
1800 ROUTE 34 NORTH, BLDG 3

WALL, NJ 077190000

Series Name

NOT AUTHORIZED TO ESTABLISH SERIES

Return to Search

File Annual Report

Adopting Assumed Name

Articles of Amendment Effecting A Name Change

Change of Registered Agent and/or Registered Office

